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Your Honor,


I am humbly writing to you today to request consideration of bail on behalf of Oren Alexander. I
have profound respect for our justice system and the safety of our community. I feel secure in
writing on behalf of Oren because having known Oren for many years, Oren has always made
his family a first priority. As being a member of a close and loving family and now a first time
father; I know that Oren would do everything possible to be with them. Having his first child
last week and not being there is heartbreaking for a young father and extremely strenuous and
draining for a new mother who requires mental, physical, and emotional support. Oren is a
devoted, adoring, and loving husband and now new father who cherishes his wife and his
growing family.
I understand the severity of this situation and accusations and I wholeheartedly value and respect
the court process. I strongly believe that Oren shares these values. Growing up in a family that
has been ingrained in the community has helped mold Oren’s character. Oren has always
supported all of his family and friends that are involved in various philanthropic and community
building endeavors. Being recognized as a leader from a young age, Oren has inspired me and
others to be more involved in giving back. His commitment to family, friends, and community
are his best qualities as a friend. He always puts others first by listening to others needs and goes
above and beyond to take care of those around him, generously and unconditionally.
Being a family man, and now a first time father, I can assure the court that Oren would not forfeit
his family by fleeing or breaking court orders. I humbly urge the court to consider this when
weighing the decision of granting bail, aware that Oren’s devotion and commitment to his family
and community will ensure that he will adhere and respect the court orders.


Thank you for your time and consideration,
Joseph Hanono
